              Case: 4:23-mj-09138-RHH Doc. #: 1 Filed: 06/30/23 Page: 1 of 1 PageID #: 1
$2 5HY &ULPLQDO&RPSODLQW


                                      81,7('67$7(6',675,&7&2857
                                                                     IRUWKH
                                                EASTERN DISTRICT OF MISSOURI
                                                  BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                  8QLWHG6WDWHVRI$PHULFD
                             Y
                           Larob Harris
                                                                                &DVH1R 4:23 MJ 9138 RHH
                   DQG0H.D\OD-RKDQQ
                                                                                 6,*1('$1'68%0,77('727+(&2857)25
                                                                                 ),/,1*%<5(/,$%/((/(&7521,&0($16

                            'HIHQGDQW V


                                                    &5,0,1$/&203/$,17
          ,WKHFRPSODLQDQWLQWKLVFDVHVWDWHWKDWWKHIROORZLQJLVWUXHWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI
2QRUDERXWWKHGDWH V RI                                                     LQWKHFRXQW\RI                                    LQWKH
      Eastern           'LVWULFWRI             Missouri            WKHGHIHQGDQW V YLRODWHG

             &RGH6HFWLRQ                                                         2IIHQVH'HVFULSWLRQ

18:1951(a) & 2                                     Interference with commerce by threats of violence
18:924(c)(j) and 2                                 Possess, brandish, and/or discharge a firearm in furtherance of a crime of violence
                                                   resulting in death, aiding and abetting




          7KLVFULPLQDOFRPSODLQWLVEDVHGRQWKHVHIDFWV
                                                        SEE ATTACHED AFFIDAVIT




          ✔ &RQWLQXHGRQWKHDWWDFKHGVKHHW
          u
                                                 ,VWDWHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW
                                                                                          /s/ Daniel Zwiesler, SA, FBI
                                                                                                    &RPSODLQDQW¶VVLJQDWXUH
                                                                                                   Daniel Zwiesler, SA, FBI
                                                                                                     3ULQWHGQDPHDQGWLWOH

6ZRUQWRDWWHVWHGWRDQGDIILUPHGEHIRUHPHYLDUHOLDEOHHOHFWURQLFPHDQVSXUVXDQWWR)HGHUDO5XOHVRI
&ULPLQDO3URFHGXUHDQG

'DWH     June 30, 2023
                                                                                                       -XGJH¶VVLJQDWXUH

&LW\DQGVWDWH                           St. Louis, Missouri                   Honorable Rodney H. Holmes, United States Magistrate Judge
                                                                                                     3ULQWHGQDPHDQGWLWOH
